                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                              No. 5:18-CV-00211-D


TAYLOR FISSE and BRYAN REES, individually )
and on behalf of all others similarly situated, )
                                                )   MEMORANDUM IN SUPPORT OF
                       Plaintiffs,              )    DEFENDANT AUDIBLE, INC.'S
                                                )       MOTION TO COMPEL
               v.                               )         ARBITRATION
                                                )          9 U.S.C. §§ 1-14
AUDIBLE, INC.,                                  )
                                                )
                       Defendant.               )
                                                )
                                         TABLE OF CONTENTS

                                                                                                                               PAGE

INTRODUCTION ...............................................................................................................1

1.        BACKGROUND......................................................................................................2

          A.         The Audible Service ....................................................................................2

          B.         Procedural History .......................................................................................3

          C.         Plaintiffs Repeatedly Agreed to Arbitrate Their Claims..............................5

ARGUMENT.......................................................................................................................7

1.        Plaintiffs Repeatedly Agreed to Binding Arbitration Agreements that Govern This
          Dispute. ....................................................................................................................8

          A.         November 15, 2015 Sign-up for Audible Free Trial Membership ..............9

          B.         April 14, 2017 Sign-up for Audible Direct Paid Membership...................12

          C.         April 14, 2017 Credit Redemptions on Audible Desktop Website ............13

          D.         July 21, 2017 Sign-up for Audible on the Amazon Mobile App ...............15

          E.         Fisse and Rees’s Agreements to Amazon’s Terms During Purchases on
                     Amazon.com ..............................................................................................17

          F.         December 13, 2013 Sign-up for Amazon Prime ........................................20

2.        Plaintiffs’ Claims in This Case Fall Within the Scope of Both the Audible and
          Amazon Arbitration Provisions..............................................................................20

          A.         The Plain Language of Plaintiffs' Agreements to Arbitrate Covers This
                     Dispute. ......................................................................................................21

          B.         Equitable Estoppel Also Requires Arbitration of The Claims in This
                     Lawsuit. ......................................................................................................23

3.        The Arbitration Agreements and Class Action Waivers are Enforceable..............26

          A.         The Agreements’ Class Action Waiver is Enforceable. ............................27

          B.         The Agreement is Not Unconscionable. ....................................................28

CONCLUSION .................................................................................................................30
                                               TABLE OF AUTHORITIES

CASES                                                                                                                        PAGE(S)

Alaska Protein Recovery, LLC v. Puretek Corp.,
   No. C13-1429, 2014 WL 2011235 (W.D. Wash. May 16, 2014)............................................25

Allen v. Lloyd’s of London,
    94 F.3d 923 (4th Cir. 1996) .....................................................................................................24

Am. Express Co. v. Italian Colors Rest.,
   570 U.S. 228 (2013) .................................................................................................................27

Arthur Andersen LLP v. Carlisle,
   556 U.S. 624 (2009) ................................................................................................................24

AT&T Mobility LLC v. Concepcion,
  563 U.S. 333 (2011) ......................................................................................................... passim

AT&T Techs, Inc. v. Commc’ns Workers of Am.,
  475 U.S. 643 (1986) .................................................................................................................20

Baltazar v. Forever 21, Inc.,
   62 Cal. 4th 1237, 367 P.3d 6 (2016) ........................................................................................29

Bergenstock v. LegalZoom.com, Inc.,
   No. 13 CVS 15686, 2015 WL 3866703 (N.C. Super. June 23, 2015) .......................................8

Brinkley v. Monterey Fin. Servs., Inc.,
   242 Cal. App. 4th 314, 196 Cal. Rptr. 3d 1 (2015)..................................................................29

Brock v. Entre Computer Centers, Inc.,
   933 F.2d 1253 (4th Cir. 1991) .................................................................................................24

Buckeye Check Cashing, Inc. v. Cardegna,
   546 U.S. 440 (2006) .................................................................................................................11

Chorley Enter., Inc. v. Dickey’s Barbecue Restaurants, Inc.,
   807 F.3d 553 (4th Cir. 2015) .....................................................................................................2

Dean Witter Reynolds, Inc. v. Byrd,
   470 U.S. 213 (1985) .................................................................................................................27

DIRECTV, Inc. v. Imburgia,
   577 U.S.__, 136 S. Ct. 463 (2015) ...........................................................................................11

Drews Distrib., Inc. v. Silicon Gaming, Inc.,
   245 F.3d 347 (4th Cir. 2001) ...................................................................................................22


                                                                    ii
                                               TABLE OF AUTHORITIES
                                                   (CONTINUED)


CASES                                                                                                                          PAGE(S)

E. W. Bank v. Bingham,
   992 F. Supp. 2d 1130 (W.D. Wash. 2014) .........................................................................24, 25

Ekin v. Amazon Servs., LLC,
   84 F. Supp. 3d 1172 (W.D. Wash. 2014) ......................................................................... passim

Eric Weber v. Amazon.com, Inc.,
   Case No. 2:17-cv-08868-GW-E (C.D. Cal.) ........................................................................5, 26

Erichsen v. RBC Capital Markets, LLC,
   883 F. Supp. 2d 562 (E.D.N.C. 2012)........................................................................................2

Fagerstrom v. Amazon.com, Inc.,
   141 F. Supp. 3d 1051 (S.D. Cal. 2015) ........................................................................27, 28, 30

First Options of Chicago, Inc. v. Kaplan,
    514 U.S. 938 (1995) ...................................................................................................................8

Fteja v. Facebook, Inc.,
    841 F. Supp. 2d 829 (S.D.N.Y. 2012)......................................................................................11

Gandee v. LDL Freedom Enters., Inc.,
   176 Wash. 2d 598 (2013) .........................................................................................................29

Green Tree Fin. Corp.-Alabama v. Randolph,
   531 U.S. 79 (2000) ...................................................................................................................28

Hightower v. GMRI, Inc.,
   272 F.3d 239 (4th Cir. 2001) .....................................................................................................7

Int’l Paper Co. v. Schwabedissen Maschinen & Anlagen GMBH,
    206 F.3d 411 (4th Cir. 2000) ...................................................................................................23

J.J. Ryan & Sons v. Rhone Poulenc Textile, S.A.,
    863 F.2d 315 (4th Cir. 1988) ...................................................................................................23

James C. Greene Co. v. Great Am. E & S Ins. Co.,
   321 F. Supp. 2d 717 (E.D.N.C. 2004)................................................................................20, 21

JS Barkats, PLLC v. BE, Inc.,
    12 Civ. 6779 (JFK), 2013 WL 444919 (S.D.N.Y. Feb. 6, 2013)...............................................2




                                                                    iii
                                               TABLE OF AUTHORITIES
                                                   (CONTINUED)

CASES                                                                                                                         PAGE(S)

Kindred Nursing Centers Ltd. P’ship v. Clark,
   581 U.S.__, 137 S. Ct. 1421 (2017) .........................................................................................11

King v. Bryant,
   225 N.C. App. 340, 737 S.E.2d 802 (2013) .............................................................................21

KPMG LLP v. Cocchi,
  565 U.S. 18 (2011) ...................................................................................................................27

Lamkin v. Morinda Props. Weight Parcel, LLC,
   440 F. App’x 604 (10th Cir. 2011) ............................................................................................2

Levin v. Alms & Assocs., Inc.,
   634 F.3d 260 (4th Cir. 2011) ...................................................................................................22

Mayfield v. Nat’l Ass’n for Stock Car Auto Racing, Inc.,
  713 F. Supp. 2d 527 (W.D.N.C. 2010) ....................................................................................24

Meyer v. Uber Techs., Inc.,
  868 F.3d 66 (2d Cir. 2017)...................................................................................................9, 19

Mortensen v. Bresnan Commc’ns, LLC.,
  722 F.3d 1151 (9th Cir. 2013) .................................................................................................28

Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
  460 U.S. 1 (1983) .....................................................................................................................21

MS Dealer Serv. Corp. v. Franklin,
   177 F.3d 942 (11th Cir. 1999) .................................................................................................24

Nicosia v. Amazon.com, Inc.,
   834 F.3d 220 (2d Cir. 2016)...............................................................................................18, 19

Peoples Sec. Life Ins. Co. v. Monumental Life Ins. Co.,
   867 F.2d 809 (4th Cir. 1989) .............................................................................................20, 21

Peters v. Amazon Servs., LLC,
   2 F. Supp. 3d 1165 (W.D. Wash. 2013) .................................................................22, 27, 28, 30

Plazza v. Airbnb, Inc.,
   289 F. Supp. 3d 537 (S.D.N.Y. 2018)........................................................................................8




                                                                    iv
                                                 TABLE OF AUTHORITIES
                                                     (CONTINUED)

CASES                                                                                                                              PAGE(S)

Rent-A-Center W., Inc. v. Jackson,
   561 U.S. 63 (2010) ...................................................................................................................28

Sam Reisfeld & Son Import Company v. S.A. Eteco,
   530 F.2d 679 (5th Cir. 1976) ...................................................................................................24

Satomi Owners Ass’n v. Satomi, LLC,
   167 Wash. 2d 781 (2009) .........................................................................................................29

Selden v. Airbnb, Inc.,
    No. 16-CV-00933 (CRC), 2016 WL 6476934 (D.D.C. Nov. 1, 2016) .........................8, 11, 16

Singh v. Interactive Brokers LLC,
   219 F. Supp. 3d 549 (E.D. Va. 2016) ........................................................................................7

Starke v. Gilt Groupe, Inc.,
    No. 13 CIV. 5497 LLS, 2014 WL 1652225 (S.D.N.Y. Apr. 24, 2014)...................................11

Townsend v. Quadrant Corp.,
   153 Wash. App. 870 (2009) .....................................................................................................25

Wiese v. Cach, LLC,
   189 Wash. App. 466 (2015) .....................................................................................................25

Wiseley v. Amazon.com, Inc.,
   709 F. App’x 862 (9th Cir. 2017) ......................................................................................18, 26

Workalemahu v. Heritage Club,
  No. 14-CV-02396-RM-MEH, 2015 WL 293261 (D. Colo. Jan. 21, 2015) ...............................2

STATUTES

Federal Arbitration Act, 9 U.S.C. §§ 1-14 ............................................................................ passim

OTHER AUTHORITIES

Fed. R. Civ. P. 12(b) ..................................................................................................................2, 19

Fed. R. Civ. P. 23 ...........................................................................................................................27




                                                                       v
       Pursuant to Rules 7.1(d) and 7.2 of the Court’s Local Civil Rules, defendant Audible, Inc.

respectfully submits this memorandum in support of its motion to compel arbitration.

                                        INTRODUCTION

       This case centers on a couple who share an Amazon account, and an allegedly

unauthorized—and promptly refunded—charge to a payment card on file with that account.

Plaintiff Taylor Fisse is the Amazon account holder. Plaintiff Bryan Rees is her boyfriend, and

he added his payment card to Fisse’s Amazon account. In July of 2017, Fisse used that Amazon

account—as she had several times in the past—to sign up for a free trial membership with

Audible, an Amazon subsidiary that provides audiobooks. When Plaintiffs discovered a charge

for the Audible service on Rees’s card, Fisse contacted Audible customer support to ask why that

card, rather than another card on her account, had been charged, and Audible promptly refunded

the charges. Plaintiff Fisse cancelled her Audible membership, and Plaintiffs’ lawsuit followed.

       Over the years, and over the course of hundreds of purchases on Amazon.com, Fisse and

Rees have repeatedly accepted terms of service containing arbitration agreements. Fisse

repeatedly agreed to both Amazon’s and Audible’s terms, both of which require arbitration of the

claims she asserts here. Rees never signed up for Audible, but his agreement with Amazon also

requires arbitration of his claims. Moreover, his claims are so closely intertwined with Fisse’s

claims against Audible, and his own claims against Amazon, that principles of equitable estoppel

compel the Court to order the entire lawsuit to binding arbitration.

       The Federal Arbitration Act and Supreme Court authority applying it leave no doubt that

arbitration provisions like those contained in both the Amazon and Audible terms, including

class action waivers, are valid and enforceable. The claims Plaintiffs seek to assert here fall

within the scope of those agreements, as each claim relates to Plaintiffs’ uses of Amazon and its




                                                 1
subsidiary Audible’s services. Accordingly, Audible respectfully asks the Court to grant this

motion, compel the case to arbitration, and dismiss the Third Amended Complaint in its entirety.

1.     BACKGROUND

       A.      The Audible Service

       Audible is an audiobook and spoken audio information and entertainment service that

Amazon acquired in 2008. Dkt. 129, Declaration of Gregg Bryan (“Bryan Decl.”), ¶¶ 2, 4.1 Its

customers can purchase one of over 250,000 Audible audiobooks through the Audible online

storefront (at www.audible.com), through the Amazon desktop and mobile websites, or using a

number of other devices. Id. ¶ 2. Audible also offers membership services, which are available

on a monthly or annual subscription basis. Id. With an Audible membership, a member pays a

monthly or annual fee, which depends on the plan the customer chooses, and in exchange the

customer receives a number of benefits. Id. These benefits include a 30% discount off the

regular price of audiobooks; unlimited listening to Audible Channels (an on-demand audio

entertainment service that offers original audio series and curated playlists); a complimentary

subscription to the digital audio digest of The Wall Street Journal or The New York Times; and

the Great Listen Guarantee, which allows members who are not fully satisfied with an audiobook




1
 In a motion to compel arbitration, as opposed to a Rule 12(b)(6) motion, the Court must
consider evidence outside the pleadings, including declarations and evidence subject to judicial
notice. E.g., Erichsen v. RBC Capital Markets, LLC, 883 F. Supp. 2d 562, 567-68, 575
(E.D.N.C. 2012). The standard that applies to a motion to compel arbitration “is akin to the
burden on summary judgment.” Chorley Enter., Inc. v. Dickey's Barbecue Restaurants, Inc., 807
F.3d 553, 564 (4th Cir. 2015). This motion satisfies Audible’s obligation to respond to
Plaintiffs’ Third Amended Complaint at this stage. Lamkin v. Morinda Props. Weight Parcel,
LLC, 440 F. App’x 604, 607 (10th Cir. 2011); see also JS Barkats, PLLC v. BE, Inc., No. 12 Civ.
6779 (JFK), 2013 WL 444919, at *2 (S.D.N.Y. Feb. 6, 2013) (“[P]arties are permitted to file
motions to stay in lieu of an answer or other dispositive motions.”); accord Workalemahu v.
Heritage Club, No. 14-CV-02396-RM-MEH, 2015 WL 293261, at *2 & n.2 (D. Colo. Jan. 21,
2015). Audible reserves the right to file a Rule 12(b) motion at a later time.


                                                2
to return or exchange it within 365 days of the original date of purchase. Id.

       As a benefit of Audible membership, members may select one or more books each month

or year (depending on their plan) at no additional cost while their membership is active. Id. ¶ 3.

Audible provides customers with “credits” that they may redeem for audiobooks. The number of

membership credits a customer receives each month or year varies by plan type. Id.; see also id.,

Ex. A. For instance, customers who subscribe to Audible’s Gold Monthly plan receive one

membership credit each month while their memberships are active. One membership credit may

be redeemed for one audiobook, regardless of the price of the book. Id. ¶ 3. Once a customer

redeems a membership credit for an audiobook, the customer can keep the audiobook—even if

the customer subsequently cancels his or her membership. Id. Like other membership benefits,

however, credits are lost when an Audible subscriber cancels his or her membership. Id.

       B.      Procedural History

       This litigation started when Plaintiff Grant McKee filed a putative class action in the

Central District of California on March 10, 2017 against both Audible and Amazon. Dkt. 1.

Audible and Amazon both moved to compel arbitration. Dkt. 18. The Court granted Amazon’s

motion and dismissed all claims against Amazon, but denied the motion as to Audible. Dkt. 37.

After undertaking what the Court described as a “massive examination which focuses on the way

in which persons come into contact with these terms and conditions,” the Court concluded that

the particular mobile webpages and user flows that McKee encountered had not put him on

adequate notice of the Conditions of Use to find that he had assented to their terms. See July 13,

2017 Hearing Transcript at 16; Dkt. 37.

       Shortly after the Court’s ruling, Plaintiff filed an Amended Complaint adding Seth Beals

as a named Plaintiff. Dkt. 40. Audible moved to compel arbitration as to Beals, and moved to

dismiss McKee’s claims for failure to state a claim and for lack of standing. See Dkts. 41 and


                                                 3
42. After engaging in another intensive analysis of the various webpages that Beals interacted

with in April and May of 2015, the Court found that these pages had put Beals on adequate

notice of Audible’s terms and that Beals had agreed to binding arbitration. Dkt. 53 (tentative

ruling as to Beals) at 13-14; see also Dkt. 61 (adopting tentative ruling as final decision). In

particular, the Court found that the screen Beals interacted with when redeeming Audible

membership credits created assent to Audible’s terms. Dkt, 53 at 13-14. The Court also

concluded that the binding arbitration provision was enforceable, with the exception of one

limitation of liability provision that the Court deemed unconscionable, but could sever “without

disturbing the rest of the agreement.” Dkt. 37 at 21; accord Dkt. 53 at 15. Accordingly, the

Court compelled the bulk of Beals’ claims to binding arbitration, and transferred a small subset

of claims relating to a gift membership to the United States District Court in the Southern

District of New York pursuant to a choice of venue clause in Audible’s separate Gift

Membership Terms (which are not at issue here). See Dkt. 62.

       The Court also dismissed a number of McKee’s claims, including for lack of Article III

standing. See Dkt. 53 (ruling as to McKee). Among other things, the Court found that McKee

lacked standing to assert claims based on the practice of charging other credit cards on file with

customer accounts, because McKee had never had the “non-designated credit card” charged. Id.

at 10. For this reason, Fisse and Rees’s claims here relating the Rees’s credit card were not part

of the California case, because the claims they now raise concerning charges to unauthorized

payment cards were not properly asserted by any named plaintiff with standing. As discussed

below, the California court also lacked personal jurisdiction over their claims.

       Following the dismissal and transfer of Beals’ claims, on December 15, 2018, McKee

filed a Second Amended Complaint, this time joined by four new plaintiffs: Fisse and Rees, in




                                                  4
addition to Eric Weber and Michael Rogawski. Dkt. 65. Audible successfully moved to dismiss

Fisse and Rees—both North Carolina residents—for lack of personal jurisdiction. Dkt. 94

(tentative ruling) at 8-20; see also Dkt. 111 (transfer order). Audible moved to dismiss

Rogawski, Dkt. 73, and the court tentatively ruled that Rogawski’s claim should be ordered to

arbitration, based on his September 30, 2015 redemption of a membership credit on the

Amazon.com desktop website, Dkt. 97 at 18-20. The court denied Audible’s motion to compel

as to Weber, Dkt. 97 at 19-21, and Audible has appealed from that ruling, Dkt. 107.

       Plaintiff Rees has separately filed a lawsuit against Audible’s parent company, Amazon,

in the Central District of California, based on the same facts at issue here. See Eric Weber v.

Amazon.com, Inc., Case No. 2:17-cv-08868-GW-E (C.D. Cal.), Dkt. 1.2 As with the related

McKee action, that case is also before Judge George Wu. As Audible did earlier in this case,

Amazon has filed a motion to dismiss for lack of personal jurisdiction as to Rees. Weber, Case

No. 2:17-cv-08868-GW-E, at Dkt. 27. Judge Wu has taken the motion under submission, but has

deferred a decision on it until resolution of a motion to compel arbitration as to the other named

plaintiff, Eric Weber. See Weber, Case No. 2:17-cv-08868-GW-E, at Dkts. 35, 42.

       C.      Plaintiffs Repeatedly Agreed to Arbitrate Their Claims.

       Plaintiffs’ claims in this case are inextricably intertwined, and arise from Rees’s use of

Fisse’s Amazon account, and Fisse’s use of that Amazon account to sign up for Audible. See

Dkt. 123, Third Amended Complaint (“TAC”) ¶¶ 5-9. The gravamen of their complaint is that

Audible, an Amazon company, charged a payment card held by Fisse’s boyfriend, Bryan Rees,

which Rees had placed on Fisse’s Amazon account. Id. ¶¶ 8-9, 13. Fisse additionally alleges




2
  Audible attaches the full docket for the Weber case as of the date of this filing as Exhibit A to
this memorandum.


                                                 5
that she was harmed because she lost an Audible membership credit that she failed to redeem

before she cancelled her membership.3 Id. ¶ 9.

       Fisse is a longtime Audible customer who has signed up for, and later cancelled, Audible

memberships multiple times. See Bryan Decl. ¶ 6, Ex. B; cf. TAC ¶ 7 (“Over the next few years,

Fisse purchased and redeemed credits on occasion and cancelled and reinstated her membership

several times.”). Indeed, Fisse has signed up for Audible memberships no fewer than four

separate times, and she has enjoyed a number of membership benefits over the years—including

but not limited to six free audiobooks through free trials and other promotions. See Bryan Decl.

¶¶ 6-10, Ex. B. Along the way, she has also agreed to Audible’s Conditions of Use no fewer

than five times. See Dkt. 131, Declaration of Kausik Basu (“Basu Decl.”), ¶¶ 2-7, Exs. A-F; Dkt.

132, Declaration of Erin Murphy (“Murphy Decl.”), ¶¶ 2-5, Exs. A-D. Those Audible Service

Conditions of Use contain arbitration agreements with class action waiver provisions that bar this

lawsuit. See Dkt. 130, Declaration of Jason Massello (“Massello Decl.”), ¶¶ 2-10, Exs. A-E.

       Plaintiffs have also been active customers of Amazon, Audible’s parent company.

Between November 1, 2011 and September 29, 2017, Plaintiff Fisse placed a total of 198 retail

purchase orders for 261 items through Amazon. Dkt. 134, Declaration of Hery Hope (“Hope

Decl.”), ¶ 4, Ex. A. For his part, Plaintiff Rees placed nineteen retail orders on his Amazon




3
  On September 25, 2017, Fisse’s contacted Audible customer service to dispute charges to a
payment card held by Rees. See Bryan Decl. ¶¶ 12-14. During the call, Fisse said she wished to
cancel her account, and the Audible customer service representative—while acknowledging the
request to cancel—informed her that there was still an unredeemed membership credit in her
account and that cancelling immediately would result in losing the unredeemed credit. Id. The
representative offered to “freeze” the account for three months, such that Fisse could have more
time to pick a book without incurring any monthly membership fees. Id. Fisse declined the
offer, stating that she would pick an audiobook to redeem her final unredeemed credit for that
night. Id. But Fisse never followed through, instead choosing to cancel her account with an
unredeemed credit still on it. Id. ¶ 14.


                                                 6
account from October 25, 2013 through May 6, 2016. See id. ¶ 4, Ex. B. Each time either Fisse

or Rees placed an order using standard Amazon checkout flows over these periods, they received

notice of Amazon’s Conditions of Use and were informed that by placing an order they were

agreeing those terms—all of which included arbitration provisions and class action waivers.

Dkt. 133, Declaration of Karen Ressmeyer (“Ressmeyer Decl.”), ¶¶ 16-19, Exs. M-Q (Amazon’s

standard checkout flows); see also id. ¶¶ 4-15, Exs. A-L (compilation of Amazon Conditions of

Use over time). Additionally, Fisse agreed to the Amazon Conditions of Use when she signed up

for Amazon Prime on December 13, 2013. Ressmeyer Decl. ¶¶ 20-22, Exs. R-T.

        Amazon’s arbitration and class action waiver provisions are broad, applying to any

dispute or claim relating in any way to the customer’s use of Amazon. See id. ¶¶ 4-15, Exs. A-L.

Similarly, Audible’s arbitration agreements cover “[a]ny dispute or claim relating in any way

to your use of the Audible Service.” Massello Decl. ¶ 4, Ex. A at 2 (bold in original); see also

id. ¶ 6, Ex. B at 2 (2017 terms covering “[a]ny dispute or claim arising from or relating to these

Terms or your use of the Service”). As discussed below, those broad agreements require

arbitration of Plaintiffs’ claims.

                                          ARGUMENT

        On a motion to compel arbitration under the Federal Arbitration Act (FAA), 9 U.S.C.

§§ 1-14, a court’s role is limited to two narrow inquiries: first, to “determine whether a binding

arbitration agreement exists between the parties” and then to “determine whether the dispute falls

within the parameters of the arbitration agreement.” Singh v. Interactive Brokers LLC, 219 F.

Supp. 3d 549, 554–55 (E.D. Va. 2016) (citing Hightower v. GMRI, Inc., 272 F.3d 239, 242 (4th

Cir. 2001)). As explained in the sections that follow, Plaintiffs agreed to arbitrate the claims in

this lawsuit when they repeatedly assented to the arbitration provisions in Amazon Conditions of




                                                  7
Use, and when Fisse repeatedly agreed to the arbitration provision in Audible’s Conditions of

Use. Those agreements bar this lawsuit, and given the liberal federal policy favoring arbitration,

Plaintiffs cannot offer any reason that the Court should not enforce them.

1.     PLAINTIFFS REPEATEDLY AGREED TO BINDING ARBITRATION
       AGREEMENTS THAT GOVERN THIS DISPUTE.

       Courts “apply ordinary state-law principles that govern the formation of contracts” to

determine whether parties agreed to arbitrate. First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938, 944 (1995). A consensus of courts across the country agree that, in the digital context,

“[t]he critical issue [is] whether the Internet-based purchase was structured so that the purchaser

necessarily had actual or constructive notice of the terms of use which included an agreement to

arbitrate.” Bergenstock v. LegalZoom.com, Inc., No. 13 CVS 15686, 2015 WL 3866703, at *5

(N.C. Super. Ct. June 23, 2015) (citing Ninth Circuit law) (emphasis added); see also Plazza v.

Airbnb, Inc., 289 F. Supp. 3d 537, 548 (S.D.N.Y. 2018) (noting that the touchstone for assent in

Internet transactions is whether there is “inquiry notice of the terms and Plaintiffs assented to the

terms through the conduct that a reasonable person would understand to constitute assent”)

(internal citations, quotations, and alterations omitted); accord Selden v. Airbnb, Inc., No. 16-

CV-00933 (CRC), 2016 WL 6476934, at *4-5 (D.D.C. Nov. 1, 2016), motion to certify appeal

denied, No. 16-CV-933 (CRC), 2016 WL 7373776 (D.D.C. Dec. 19, 2016), and appeal

dismissed, 681 F. App’x 1 (D.C. Cir. 2017), cert. denied, 138 S. Ct. 222, 199 L. Ed. 2d 120

(2017) (synthesizing relevant case law).

       This constructive or “inquiry” notice standard is not difficult to satisfy, and it is easily

met here. “Any reasonably-active adult consumer will almost certainly appreciate that by

signing up for a particular service, he or she is accepting the terms and conditions of the

provider.” Selden, 2016 WL 6476934, at *5 (holding that user was bound by arbitration clause,



                                                  8
where Airbnb presented a hyperlinked disclosure stating that “By signing up, I agree to Airbnb’s

Terms of Service” in close proximity to sign-up buttons); see also Meyer v. Uber Techs., Inc.,

868 F.3d 66, 74 (2d Cir. 2017) (vacating lower court’s denial of motion to compel arbitration,

and holding that the Uber mobile app provided reasonably conspicuous notice of, and that

customer unambiguously assented to Uber’s terms of service).

       Under the inquiry notice standard, even a single consent will be sufficient to bind a

plaintiff to an arbitration agreement. See, e.g., Dkt. 53 at 14-15 (finding that a 2015 Audible

credit redemption flow on the Amazon.com desktop website afforded Beals “constructive notice

that redeeming a credit for an audiobook constituted assent to the Audible COU and the

arbitration provision contained therein”). Here, as explained below, Plaintiffs Fisse and Rees

repeatedly agreed to arbitrate all disputes against Audible and its parent company, Amazon.

       A.      November 15, 2015 Sign-up for Audible Free Trial Membership

       Plaintiff Fisse agreed to arbitrate disputes relating to the use of Audible when she signed

up an “Audible 30-Day Free Gold Monthly” free trial promotion on November 15, 2015. Basu

Decl. ¶¶ 2-3, Exs. A-B; see also Bryan Decl. ¶ 8. Fisse signed up for the trial using her Amazon

account, see Bryan Decl. ¶¶ 4, 8, through the Audible.com mobile website, see Basu Decl. ¶ 2,

Ex. A. At the time, the Audible Service Conditions of Use included a complete standalone

arbitration agreement with a class action waiver provision stating that “[a]ny dispute or claim

relating in any way to your use of the Audible Service will be resolved by binding

arbitration, rather than in court . . . .” Massello Decl. ¶ 4, Ex. A at 3 (bold in original).

       To sign up for her trial membership, Audible required Fisse to proceed through a series of

screens on the mobile website. See Basu Decl. ¶ 3, Ex. B. Once she had confirmed a payment

card, Fisse was presented with a screen from which she could start her Audible membership, the

relevant portion of which appears below:


                                                 9
See Basu Decl. ¶ 3, Ex. B at 4. To proceed, Fisse had to click a button that read “Start Now.” Id.

Immediately under this button was language providing that “By completing your purchase, you

agree to Audible’s Conditions of Use . . . .” Id. Further down, in a section titled “Audible Free

Trial Details” was additional language that read as follows:

               After the trial, your paid membership will begin at $14.95 per
               month. With your membership, you will receive one credit every
               month, good for any audiobook on Audible.

               Cancel anytime, effective the next monthly billing cycle. Cancel
               before your trial ends and you will not be charged. Check out the
               full terms and policies that apply to Audible membership.

Id. The language “terms” appeared in blue and contained a hyperlink to the Audible Service

Conditions of Use and its arbitration agreement. Id.; see also Massello Decl. ¶ 4, Ex. A at 2. All

this language was presented on a single screen, with no scrolling required, and Plaintiff Fisse

could not having started her Audible membership without first clicking the “Start Now” button.

Basu Decl. ¶ 3, Ex. B at 4.

       Given the context, with the lower third of the final sign-up screen devoted to details about

her Audible membership, under an objective standard this flow created assent to the Audible

Service Conditions of Use and its arbitration agreement. It contained not one, but two,


                                                10
statements providing that terms applied to the membership; included a hyperlink to the

substantive terms themselves; and presented all the language together on a single screen with no

ability to avoid the disclosure by scrolling and no ability to proceed with a membership except

by clicking the “Start Now” button.

       Courts have routinely held that this type of disclosure creates constructive notice and

constitutes valid and enforceable assent. See Selden, 2016 WL 6476934, at *5 (finding that user

was bound by an arbitration clause through a “sign-in wrap” agreement and collecting cases);

Fteja v. Facebook, Inc., 841 F. Supp. 2d 829, 835 (S.D.N.Y. 2012) (enforcing forum selection

clause based on disclosure below “Sign Up” button); Starke v. Gilt Groupe, Inc., No. 13 CIV.

5497 LLS, 2014 WL 1652225, at *3 (S.D.N.Y. Apr. 24, 2014) (enforcing arbitration clause and

holding that plaintiff’s decision to click “Shop Now” button represented assent). Indeed, any

contrary finding runs afoul of the United States Supreme Court’s perennial admonishment that

courts must “place arbitration agreements ‘on equal footing with all other contracts.’” Kindred

Nursing Centers Ltd. P’ship v. Clark, 581 U.S. __, 137 S. Ct. 1421, 1424 (2017) (quoting

DIRECTV, Inc. v. Imburgia, 577 U.S. __, 136 S. Ct. 463, 468 (2015)); accord AT&T Mobility

LLC v. Concepcion, 563 U.S. 333, 339 (2011); Buckeye Check Cashing, Inc. v. Cardegna, 546

U.S. 440, 443 (2006).

       In the earlier McKee case, Judge Wu in the Central District of California held that the

language stating “by completing your purchase” when coupled with a free trial did not create

adequate notice. See Dkt. 53 at 11-12. Judge Wu’s ruling in that regard is not binding here, for

two reasons. First, Audible respectfully submits that the California court erred on this point,

because even the notice at issue in that case provided constructive notice that signing up for the

service was subject to terms and conditions. Second, the layout of Fisse’s sign-up page was




                                                11
significantly different, with no scrolling and no ability to click on Start Now button without also

seeing the relevant disclosures. The disclosures here provided objectively reasonable notice that

starting the membership would commence a paid subscription and constitute agreement to

Audible’s terms. This is more than sufficient to put a reasonable consumer on notice and create

assent to Audible’s terms.

       B.      April 14, 2017 Sign-up for Audible Direct Paid Membership

       Plaintiff Fisse also agreed to arbitrate when she signed up for a paid Audible Gold

Monthly membership—without a free trial—on April 14, 2017. Basu Decl. ¶¶ 4-5, Exs. C-D;

see also Bryan Decl. ¶ 9. Fisse signed up for the direct paid membership through the

Audible.com mobile website. Basu Decl. ¶ 4, Ex. C. To do so, she proceeded through to a

screen that contained language similar to the language that appeared for her earlier November

15, 2015 sign-up. Compare Basu Decl. ¶ 4, Ex. D (April 2017 sign-up flow), with id. ¶ 3, Ex. B

at 4 (November 2015 sign-up flow). Because this sign-up did not involve a free trial, the

concern Judge Wu identified concerning the use of the “by completing your purchase” language

does not apply.

       A screenshot of the relevant portion of that screen appears below:




                                                12
       As with the November 2015 sign-up screen, the page contained a prominent “Start Now”

button, followed by language that read as follows: “By completing your purchase, you agree to

Audible’s Conditions of Use and Privacy Notice and authorize us to charge your designated

credit card or another available credit card on file.” Basu Decl. ¶ 4, Ex. D. Because this was a

paid membership, the section below was titled “Audible Membership Details” instead of

“Audible Free Trial Details.” As with the November 15, 2015 screen, Fisse’s only option for

starting a direct paid membership was to click the “Start Now” button and proceed, and the

disclosure immediately below contained hyperlinked “terms” language that led directly to

Audible Service Conditions of Use and its arbitration agreement. Basu Decl. ¶ 4, Ex. D.

       At the time, the Audible Service Conditions of Use stated that “[a]ny dispute or claim

arising from or relating to these Terms or your use of the Service is subject to the binding

arbitration” and expressly incorporated by reference the Amazon Conditions of Use. Massello

Decl. ¶ 6, Ex. B at 2 (bold in original). The Amazon Conditions of Use, in turn, contained an

arbitration agreement with class action waiver covering “[a]ny dispute or claim relating in any

way to your use of any Amazon Service, or to any products or services sold or distributed

by Amazon or through Amazon.com . . . .” Massello Decl. ¶ 7, Ex. C at 3-4 (bold in original).

       As with her earlier sign-up, Fisse’s April 14, 2017 sign-up provided clear notice that

starting the membership constituted agreement to Audible’s terms. This, too, is more than

sufficient to create assent to Audible’s terms.

       C.      April 14, 2017 Credit Redemptions on Audible Desktop Website

       In addition to signing up for direct paid membership on April 14, 2017, Fisse also visited

the Audible desktop website and redeemed two membership credits that day. Basu Decl. ¶¶ 4, 6.

In fact, it appears that Fisse had signed up for an Audible Gold Monthly membership on April

14, 2017 to exchange some audiobooks using the “Great Listen Guarantee.” Bryan Decl. ¶ 9.


                                                  13
She cancelled her membership later that same day.4 Id.

         Fisse redeemed those two credits on the Audible.com desktop website using a 1-Click

purchase flow. Basu Decl. ¶ 6, Ex. E. To make purchases with this 1-Click mechanism, Fisse

selected the “Buy with 1 Credit” option and then clicked a prominent “Confirm Purchase”

button. Id. The general layout of the buy-box from this Audible desktop website flow, including

the placement of disclosure language within it, appears below:




Id. At the time, the language beneath the “Confirm Purchase” button in the buy-box was slightly

different and read: “By completing your purchase you agree to Audible’s Conditions of Use and

Privacy Notice.” Id. ¶ 7, Ex. F. The underlined “Conditions of Use” language appeared in blue

and contained a hyperlink to the to the Audible Service Conditions of Use at the time, which

incorporated by reference the arbitration agreement and class action waiver provision in the

Amazon Conditions of Use, as described above. Id.; see also Massello Decl. ¶¶ 6-7, Exs. B-C.

         Had Fisse only clicked that “Conditions of Use” link during either of her April 14, 2017

audiobook purchases on the Audible desktop, she would have been directed to the Audible

Service Conditions of Use and the Amazon Conditions of Use and arbitration agreement that

they incorporated by reference.




4
    This conduct demonstrates Fisse’s familiarity with Audible’s terms and policies.


                                                 14
       D.      July 21, 2017 Sign-up for Audible on the Amazon Mobile App

       Fisse most recently assented to the Audible Conditions of Use and the arbitration

agreement when she signed up for an “Audible 30-Day Free Gold Monthly + Bonus Credit”

promotion not on Audible’s website, but on the Amazon shopping mobile app for Android.

Murphy Decl. ¶ 2, Ex. A; see also Massello Decl. ¶¶ 9-10, Exs. D-E. This time, at the very top

of the sign-up page she was presented with a prominent disclosure about Audible’s Conditions of

Use, followed by a “Confirm your free trial” button:




Murphy Decl. ¶¶ 3-5, Exs. B-D. As shown above, at the time the language above the “Confirm

your free trial” button stated as follows: “By completing you purchase you agree to Audible’s

Conditions of Use and Privacy Notice and authorize us to charge your designated credit card or

another available credit card on file. Membership will continue until you choose to cancel. You

may cancel anytime by visiting your Audible Account page. Additional taxes may apply.”

Murphy Decl. ¶ 5, Ex. D. The “Conditions of Use” language was a hyperlink, and if Fisse had

pressed it, she would have been directed to the Audible Conditions of Use in effect at that time.

Id. Those terms incorporated by reference in the arbitration agreement in the Amazon

Conditions of Use. Massello Decl. ¶¶ 9-10, Exs. D-E. At the bottom of the sign-up page was

another hyperlink, this time directly to the Amazon Conditions of Use and its arbitration


                                                15
agreement. Murphy Decl. ¶¶ 3-5, Exs. B-D. To start her membership from the Amazon

shopping app, Fisse had to click on one of the “Confirm your free trial” buttons on the sign-up

page. Id.

       While the button Fisse had to click to proceed said “Confirm your free trial,” any

reasonable consumer would be put on notice that the disclosure above the button meant she was

bound by Audible’s terms. Indeed, that sign-up involved shopping for a book and then

“purchasing” it by starting the trial membership. See Murphy Decl. ¶ 4, Ex. C. That disclosure

thus provided Fisse—yet again—with constructive notice of Audible’s Conditions of Use, and

“[a]ny reasonably-active adult consumer will almost certainly appreciate that by signing up for a

particular service, he or she is accepting the terms and conditions of the provider.” See Selden,

2016 WL 6476934, at *5. Accordingly, Fisse’s sign-up on the Amazon mobile app also

constituted assent to Audible’s Conditions of Use, and the arbitration agreement that those terms

incorporate by reference.

       Moreover, and as discussed further below, this sign-up on the Amazon shopping app also

underscores why Amazon’s arbitration agreement—which was also expressly incorporated by

reference into Audible’s service terms—applies here. Fisse repeatedly agreed that any claims

relating to her use of Amazon would be resolved through arbitration. There is no question that

her claims relating to signing up for a membership on an Amazon mobile app “relates to” her use

of Amazon.5



5
  This fact also distinguishes the case of Mr. McKee, who signed up only on the Audible mobile
website, not on an Amazon website or app. Indeed, Judge Wu indicated that he would have
granted Audible’s motion to compel arbitration as to McKee if McKee had signed up for his
Audible membership through Amazon. See Dkt. 27 at 10 (in a tentative ruling, finding that
compelling arbitration was warranted as to McKee based on an initial understanding that “he had
repeatedly assented to the Amazon COU, and had signed into Audible using his Amazon Prime
account”).


                                                16
       E.      Fisse and Rees’s Agreements to Amazon’s Terms During Purchases on
               Amazon.com

       In addition to Fisse’s repeated agreement to Audible’s terms, Plaintiffs also accepted

Amazon’s terms each time they placed a purchase order from Amazon’s standard checkout page,

whether they used the Amazon.com desktop website, its mobile website, or mobile app. See

Ressmeyer Decl. ¶¶ 16-19, Exs. M-Q. As discussed further below, this dispute falls within the

scope of that arbitration agreement as well.

       At the top of the standard checkout pages on the Amazon mobile websites and apps, there

was language that stated “By placing your order, you agree to Amazon’s privacy notice and

conditions of use[,]” followed by a prominent “Place your order” button. Ressmeyer Decl. ¶ 19,

Exs. O-Q. Meanwhile, during the relevant time, the standard checkout flow for the Amazon.com

desktop website contained the same hyperlinked disclosure language, but in one of two different

configurations depending on the time of access: until September 12, 2016, the standard desktop

checkout had the disclosure above a prominent “Place your order” button on the right side of

screen; after September 12, 2016, the standard desktop checkout had the same disclosure

immediately below the “Place your order” button.6 Ressmeyer Decl. ¶¶ 17-18, Exs. M, N. In all

cases, however, the underlined “conditions of use” language constituted hyperlinks that would

direct the customer to the Amazon Conditions of Use in effect at that time. Ressmeyer Decl. ¶¶

17-18, Exs. M, N.

       Since August 2011, the Amazon Conditions of Use contained a dispute resolution

provision with an arbitration agreement and class waiver provision. They also informed Amazon

customers that they, and not Amazon, are responsible for purchases made on those accounts: “If


6
  The Central District of California in the related McKee action also found that Amazon’s current
standard checkout flows created assent to the Amazon Conditions of Use and its arbitration
agreement. Dkt. 37 at 17 & n.7.


                                               17
you use any Amazon Service, you are responsible for maintaining the confidentiality of your

account and password and for restricting access to your computer, and you agree to accept

responsibility for all activities that occur under your account or password.” See, e.g., Ressmeyer

Decl. ¶ 15, Ex. F at 2. Thus, to the extent Fisse allowed Rees to use her account and add his

payment card, she accepted responsibility for charges incurred on that card.

       Plaintiffs Fisse and Rees are both long-time Amazon customers and, collectively, they

have placed over two hundred separate retail purchase orders through Amazon. Hope Decl. ¶ 4,

Exs. A-B. All but a small handful of these orders were placed through the standard Amazon

checkout flows. See id. ¶¶ 5-8. Amazon’s records also show that Fisse placed no fewer than

eight retail purchase orders through the standard Amazon desktop checkout flow, including at

least two orders through the current Amazon desktop checkout flow that includes a hyperlinked

disclosure below the “Place your order” button. See Dkt. 135, Declaration of Sorin Stoiana

(“Stoiana Decl.”), ¶ 5, Ex. A; cf. Hope Decl. ¶¶ 4, 7, Ex. A. Plaintiff Rees, who repeatedly

agreed to Amazon’s terms himself, also appears to concede that he had authorized Fisse to use a

payment card held in his name on her Amazon account; indeed, Plaintiffs’ Third Amended

Complaint alleges that Rees himself “used his debit card on Fisse’s Amazon account” to make a

purchase. See TAC at ¶¶ 8, 13.

       Amazon’s standard checkout flows create assent to the Amazon Conditions of Use. In

Wiseley v. Amazon.com, Inc., 709 F. App’x 862 (9th Cir. 2017), the Ninth Circuit found that the

notices in the historical desktop checkout pages, i.e., those in place before September 12, 2016,

“which alerted Wiseley that clicking the corresponding action button constituted agreement to

the hyperlinked COU, were in sufficient proximity to give him a reasonable opportunity to

understand that he would be bound by additional terms.” 709 F. App’x at 864; see also Ekin v.




                                                18
Amazon Servs., LLC, 84 F. Supp. 3d 1172, 1175-78 (W.D. Wash. 2014) (finding that purchases

on Amazon created assent).

       Plaintiffs may try to raise Nicosia v. Amazon.com, Inc., 834 F.3d 220 (2d Cir. 2016), to

escape their agreements with Amazon. But Nicosia arose in a significantly different legal

posture. In that case, the Second Circuit considered not a motion to compel arbitration, but a

motion to dismiss under Rule 12(b)(6). 834 F.3d at 230. Given the context, the usual standard

did not apply because the “motion to dismiss neither sought an order compelling arbitration nor

indicated that Amazon would seek to force Nicosia to arbitrate in the future.” Id. Accordingly,

the court applied the plausibility standard under Rule 12(b)(6) instead. Id. Under this standard,

the Nicosia court found that the plaintiff had stated a plausible claim for relief to survive a

motion to dismiss. Id. at 238. But the panel also clarified that it did “not hold that there was no

objective manifestation of mutual assent here as a matter of law.” Id. Rather, it found that that

the issue was inappropriate for resolution on the pleadings. Id. That standard does not apply

here, where the Court not only may but must consider evidence outside of the pleadings. The

Second Circuit also sharply limited the potential reach of Nicosia in the more recent Meyer

decision. There, the Second Circuit reversed a district court’s denial of a motion to compel

arbitration based on a user sign-up similar to the sign-ups and purchases here. Meyer, 868 F.3d

at 74. And in all events, following remand by the Second Circuit in Nicosia, the magistrate in

the lower court still recommended compelling the case to arbitration, finding that the plaintiff

there “had constructive notice of the [arbitration] provision based on his repeat purchases on

Amazon.com.” Nicosia v. Amazon.com, Inc., Case No. 1:14-cv-04513-ILG-LB (E.D.N.Y), Dkt.

156 at 25 (“[A]fter 38 visits to the same apple stand, reasonable minds would agree that the user




                                                 19
should know that the stand’s apples are not for free.”).7

       F.      December 13, 2013 Sign-up for Amazon Prime

       Plaintiff Fisse also agreed to arbitrate all claims as to Amazon and its affiliates when she

signed up for the Amazon Prime service on December 13, 2013. See Ressmeyer Decl. ¶ 21, Ex.

T at 1 (“These Terms are between you and Amazon Services LLC and/or its affiliates

(‘Amazon.com’ or ‘Us’) and govern our respective rights and obligations.”). The Prime Terms

in effect at the time of Fisse’s sign-up provided, in the very first paragraph, that the “use of the

Amazon.com website and PrimePrime [sic] membership are also governed by [Amazon’s]

Conditions of Use and Privacy Notice,” and they incorporated by reference all the terms in the

Amazon Conditions of Use. Id. Meanwhile, the Amazon Conditions of Use in effect at the time

included an arbitration agreement and class waiver provision covering “[a]ny dispute or claim

relating in any way to your use of any Amazon Service, or to any products or services sold

or distributed by Amazon or through Amazon.com . . . .” Ressmeyer Decl. ¶¶ 9, 21, Ex. F at

5 (bold in original), Ex. T at 1. At the time of the December 2013 sign-up, Amazon required

users to click a sign-up button with hyperlinked disclosure language next to it, directing

customers to the Amazon Prime Terms. Ressmeyer Decl. ¶¶ 20, 22, Exs. R, S.

2.     PLAINTIFFS’ CLAIMS IN THIS CASE FALL WITHIN THE SCOPE OF BOTH
       THE AUDIBLE AND AMAZON ARBITRATION PROVISIONS.

       A “presumption of arbitrability” attaches whenever a court recognizes a valid contract

containing an arbitration clause. AT&T Techs, Inc. v. Commc’ns Workers of Am., 475 U.S. 643,

650 (1986). Accordingly, “the Fourth Circuit has said that arbitration ‘should not be denied

unless it may be said with positive assurance that the arbitration [agreement] is not susceptible of



7
 Audible attaches the August 18, 2017 report and recommendation of the magistrate judge in
Nicosia as Exhibit B to this memorandum.


                                                  20
an interpretation that covers the dispute.’” James C. Greene Co. v. Great Am. E & S Ins. Co.,

321 F. Supp. 2d 717, 721 (E.D.N.C. 2004) (quoting Peoples Sec. Life Ins. Co. v. Monumental

Life Ins. Co., 867 F.2d 809, 812 (4th Cir. 1989)); cf. King v. Bryant, 225 N.C. App. 340, 345

(2013) (“As a general matter, the public policy of [North Carolina] favors arbitration.”). Given

the strong federal policy in favor of arbitration, all “doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration.” Moses H. Cone Mem’l Hosp. v. Mercury

Constr. Corp., 460 U.S. 1, 24–25 (1983).

       A.      The Plain Language of Plaintiffs' Agreements to Arbitrate Covers This
               Dispute.

       Here, the arbitration agreements at issue broadly cover “any dispute or claim relating in

any way to your use of” the Amazon or Audible services. See, e.g., Massello Decl. ¶ 4, Ex. A at

3 (2015 Audible terms covering “[a]ny dispute or claim relating in any way to your use of the

Audible Service”); id. ¶ 6, Ex. B at 2 (2017 Audible terms covering “[a]ny dispute or claim

arising from or relating to these Terms or your use of the Service”); Ressmeyer Decl. ¶ 9, Ex. F

at 5 (2012 through 2015 Amazon terms covering “[a]ny dispute or claim relating in any way to

your use of any Amazon Service, or to any products or services sold or distributed by Amazon or

through Amazon.com”). The Amazon Conditions of Use also make clear that “Amazon”

includes its “affiliates,” which would include its subsidiary, Audible. See, e.g., Ressmeyer Decl.,

Ex. J (defining “Amazon Services LLC and/or its affiliates” as “Amazon” under the agreement)

Indeed, when signing up for her Audible memberships, Fisse was required to use her Amazon

account, and she was informed that Audible is “an Amazon company.” See Basu Decl. ¶¶ 3, 5-6,

Ex. B (“powered by Amazon services”), Ex. D (“We’re an Amazon company”), Ex. E (logo at

header reading “Audible – an Amazon company”).

       The broad “any dispute” language in both the Audible and Amazon agreements leaves no



                                                 21
doubt that the dispute here is subject to arbitration. Indeed, courts examining the substantially

identical Amazon arbitration agreement have found that its use of “any dispute” language gave

the agreement broad scope—and retroactive effect: “[W]hen arbitration agreements contain

broad ‘relating to any dispute’ language, both future and past disputes are included in the scope

of the arbitration agreement.” Ekin, 84 F. Supp. 3d at 1178 (emphasis added) (arbitration

agreement in Amazon Conditions of Use had retroactive effect); see also Peters v. Amazon

Servs., LLC, 2 F. Supp. 3d 1165, 1173 (W.D. Wash. 2013) (same with Amazon business services

agreement); accord Drews Distrib., Inc. v. Silicon Gaming, Inc., 245 F.3d 347, 348 (4th Cir.

2001) (reversing district court’s denial of arbitration motion where arbitration provision required

parties to arbitrate any claim “related to” a distribution contract.)8

       Here, both Plaintiffs’ claims “relate to” the use of Amazon. The charges to Mr. Rees’s

card occurred only because he added his payment card, or allowed it to be added, to an Amazon

account, which Fisse then used to sign up for Audible in July 2017. See TAC at ¶¶ 5-15. Fisse

also performed the membership sign-up that led to the charge directly on the Amazon mobile

app, not on Audible. See Murphy Decl. ¶ 2, Ex. A. Accordingly, the allegedly inadequate

disclosures during that sign-up—i.e., about what card would be charged, and the effect of

cancellation on unredeemed credits—were all on Amazon. Thus, there is no question that this

dispute “relates to” Plaintiffs’ use of Amazon, and these claims fall within the plain scope of

Plaintiffs’ agreements with Amazon.




8
  Because courts regularly apply arbitration agreements retroactively, there is no merit to any
suggestion from Plaintiffs that their agreements to arbitration when redeeming credits or
otherwise should not govern existing disputes: “courts have generally applied broad ‘any
dispute’ language retroactively, especially when combined with language that refers to all
dealings between the parties.” Levin v. Alms & Assocs., Inc., 634 F.3d 260, 267 (4th Cir. 2011)
(reversing lower court’s finding that arbitration agreement did not have retroactive effect).


                                                  22
       The dispute also falls squarely within the scope of Fisse’s arbitration agreements with

Audible, which are substantively identical to her arbitration agreement with Amazon. As

discussed above, during the course of her memberships, the Audible Conditions of Use required

arbitration of “[a]ny dispute or claim relating in any way to your use of the Audible

Service.” Massello Decl. ¶ 4, Ex. A at 3 (bold in original); see also id. ¶ 6, Ex. B at 2 (2017

terms covering “[a]ny dispute or claim arising from or relating to these Terms or your use of the

Service”). Given this broad language, there can be no legitimate argument that both Plaintiffs’

claims do not fall within the scope of Fisse’s arbitration agreements with Audible.

       B.      Equitable Estoppel Also Requires Arbitration of The Claims in This Lawsuit.

       Even assuming (contrary to fact) that Rees’s agreement to arbitrate disputes “related to”

the use of Amazon, and Fisse’s agreements to arbitrate disputes related to the use of Audible and

Amazon, did not apply by their own terms to this dispute, principles of equitable estoppel would

still compel sending the entire case to arbitration. “Equitable estoppel precludes a party from

asserting rights he otherwise would have had against another when his own conduct renders

assertion of those rights contrary to equity.” Int’l Paper Co. v. Schwabedissen Maschinen &

Anlagen GMBH, 206 F.3d 411, 418 (4th Cir. 2000) (affirming district court’s grant of motion to

compel arbitration against non-signatory based on doctrine of equitable estoppel, where non-

signatory sought to claim benefit of contract with arbitration agreement that applied to “any

dispute arising out of” the contract). For instance, when allegations against a parent company

and its subsidiary are “based on the same facts and are inherently inseparable” but only one of

the entities is signatory to an arbitration agreement covering the dispute, courts have applied

equitable estoppel principles to compel the entire dispute to arbitration. J.J. Ryan & Sons v.

Rhone Poulenc Textile, S.A., 863 F.2d 315, 320–21 (4th Cir. 1988) (ordering all claims against

non-signatory parent company to arbitration, based on arbitration agreement of subsidiary).


                                                23
After all, if the non-signatory had to try the case on the same facts, any “arbitration proceedings

[between the signatories] would be rendered meaningless and the federal policy in favor of

arbitration effectively thwarted.” Sam Reisfeld & Son Import Company v. S.A. Eteco, 530 F.2d

679, 681 (5th Cir. 1976). “[A]pplication of equitable estoppel is warranted when the signatory to

the contract containing the arbitration clause raises allegations of substantially interdependent

and concerted misconduct by both the nonsignatory and one or more of the signatories to the

contract.” MS Dealer Serv. Corp. v. Franklin, 177 F.3d 942, 947 (11th Cir. 1999), abrogated on

other grounds by Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 631 (2009).

       State law governs whether an arbitration clause is enforceable against a non-signatory

under the FAA. Arthur Andersen, 556 U.S. at 631. Consistent with the equitable estoppel

principles explained above, Washington law—which governs the relevant agreements9—

provides that a signatory to a contract containing an arbitration provision can be compelled to

arbitrate against a non-signatory “where the subject matter of the dispute is intertwined with the

contract providing for arbitration, and the non-signatory and signatory parties have a close

relationship.” E. W. Bank v. Bingham, 992 F. Supp. 2d 1130, 1133 (W.D. Wash. 2014). Both



9
  Every relevant agreement contains a choice of law provision naming Washington state law.
See Massello Decl. ¶¶ 4, 6-7, 9-10, Ex. A at 3, Ex. B at 2, Ex. C at 4, Ex. D at 2, Ex. E at 5;
Ressmeyer Decl. ¶¶ 4-15, Ex. A at 5-6, Ex. B at 4, Ex. C at 4, Ex. D at 4, Ex. E at 5, Ex. F at 6,
Ex. G at 6, Ex. H at 6, Ex. I at 4, Ex. J at 6, Ex. K at 6, Ex. L at 4. In the Fourth Circuit, “choice-
of-law provisions are presumed valid.” Mayfield v. Nat’l Ass’n for Stock Car Auto Racing, Inc.,
713 F. Supp. 2d 527, 535 (W.D.N.C. 2010) (citing Brock v. Entre Computer Centers, Inc., 933
F.2d 1253, 1259 (4th Cir. 1991)). A choice of law provision is reasonable unless (1) its
formation was “induced by fraud or overreaching”; (2) the complaining party “will for all
practical purposes be deprived of his day in court because of the grave inconvenience or
unfairness of the selected forum”; (3) the “fundamental unfairness of the chosen law may deprive
the plaintiff of a remedy”; or (4) its enforcement would “contravene a strong public policy of the
forum state.” Allen v. Lloyd’s of London, 94 F.3d 923, 928 (4th Cir. 1996) (vacating district
court’s order denying enforcement of choice of forum and law clauses, and remanding with
instructions to dismiss) (internal citations and quotations omitted). None of these exceptions
apply here, and there is no reason to depart from the choice of Washington state law in this case.


                                                  24
requirements are met here, both as between Fisse and Rees, and between Amazon and its wholly-

owned subsidiary, Audible.

       Examining the relationship between a signatory to an arbitration agreement and an

affiliated non-signatory, Washington courts frequently recognize that the relationship between a

parent company and a subsidiary is sufficiently close for principles of equitable estoppel to

compel arbitration against both, even if only one company has signed the agreement: “When the

charges against a parent and subsidiary are based on the same facts, as is the case here, and are

inherently inseparable, a court may order arbitration of claims against the parent even though the

parent is not a party to the arbitration agreement.” Townsend v. Quadrant Corp., 153 Wash.

App. 870, 889 (2009), aff'd on other grounds, 173 Wash. 2d 451 (2012); see also Wiese v. Cach,

LLC, 189 Wash. App. 466, 482, (2015) (compelling claims against parent company to arbitration

where parent company was not signatory to arbitration agreement, based on principles of

equitable estoppel and collecting cases discussing parent/subsidiary relationship); Alaska Protein

Recovery, LLC v. Puretek Corp., No. C13-1429, 2014 WL 2011235, at *5 (W.D. Wash. May 16,

2014) (same). Thus the relationship between Amazon, a parent company, and Audible, its

subsidiary, is sufficiently close to satisfy this criterion. The TAC itself alleges “Audible is an

affiliate of Amazon.com, Inc.” TAC at ¶ 15. Applying the same logic, Fisse’s relationship with

Rees, who added his card to Fisse’s account and used it to make purchases, fits the bill too. Even

standing alone, Audible’s agreements to arbitrate with Fisse are a sufficient basis for compelling

arbitration of Rees’s claims against it, and by the same token both Plaintiffs’ agreements with

Amazon would require compelling arbitration of the entire lawsuit against Audible.

       There is also no question that this dispute is inextricably intertwined with both Plaintiffs’

respective agreements with Amazon and Fisse’s agreements with Audible. For instance,




                                                 25
Plaintiffs’ respective contracts with Amazon govern any use of Amazon services, and Plaintiffs’

primary grievance is that Audible charged a payment card on file with Fisse’s Amazon account.

See TAC at ¶¶ 13-14. Moreover, the relevant Audible Conditions of Use after 2015 expressly

incorporate by reference the arbitration agreement in the Amazon Conditions of Use. See

Massello Decl. ¶¶ 6-7, 9-10, Ex. A at 2, Ex. B at 2, Ex. C at 5, Ex. D at 2, Ex. E at 5. Amazon’s

Conditions of Use provide that “you agree to accept responsibility of all activities that occur

under your account or password.” See, e.g., Ressmeyer Decl. ¶ 15, Ex. L at 2. Yet the claims

arise from the fact that Fisse allowed her boyfriend to add a card to her account before she used

it to sign up for an Audible membership. Fisse and Rees claims also stem from Fisse’s most

recent sign-up in July 2017, which occurred on the Amazon mobile app, not on Audible.com.

And Rees has in fact sued Amazon in the Central District of California based on precisely the

same facts. See Weber, Case No. 2:17-cv-08868-GW-E, at Dkt. 1. The alleged conduct,

Audible, Amazon, and the agreements between the parties, simply cannot be separated.

       For this reason, this would make no sense to bifurcate the claims of the Plaintiffs here.

The predicate facts of the claims, and the parties on either side, are closely related to such a great

degree that both the plain terms of the arbitration and principles of equity should compel the

Court to order not only Fisse’s claims, but the entire matter, to binding arbitration.

3.     THE ARBITRATION AGREEMENTS AND CLASS ACTION WAIVERS ARE
       ENFORCEABLE.

       There are no material differences between the arbitration provisions that appeared in the

Audible and Amazon Conditions of Use before this Court, and those that the Central District of

California court found enforceable as to other plaintiffs in the related California action. See Dkt.

37 at 18-21; Dkt. 53 at 15. Indeed, the Conditions of Use at issue here are substantively identical

to those that a number of courts of have consistently approved. See Ekin, 84 F. Supp. 3d at 78



                                                 26
(finding that Amazon’s arbitration provision was not unconscionable); Fagerstrom v.

Amazon.com, Inc., 141 F. Supp. 3d 1051, 1064-76 (S.D. Cal. 2015), aff’d sub nom. Wiseley, 709

F. App’x 862; Peters, 2 F. Supp. 3d at 1170, aff’d, No. 14-35294, 2016 WL 5940052 (9th Cir.

Oct. 13, 2016) (same with substantively identical provision in Amazon business services

agreement).

       The Federal Arbitration Act (FAA) makes agreements to arbitrate “valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract.” 9 U.S.C. § 2. The Act reflects an “emphatic federal policy in favor of arbitral dispute

resolution.” KPMG LLP v. Cocchi, 565 U.S. 18, 21 (2011) (per curiam) (internal quotation

marks omitted). “The overarching purpose of the FAA . . . is to ensure the enforcement of

arbitration agreements according to their terms so as to facilitate streamlined proceedings.”

Concepcion, 563 U.S. at 343. As such, when the claim a plaintiff asserts falls within the scope

of a valid arbitration provision, the FAA “leaves no place for the exercise of discretion by a

district court, but instead mandates that district courts shall direct the parties to proceed to

arbitration on issues as to which an arbitration agreement has been signed.” Dean Witter

Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (emphasis in original).

       A.      The Agreements’ Class Action Waiver is Enforceable.

       Since the Supreme Court’s decision in Concepcion, it has been well-settled that the

inclusion of a class action waiver does not invalidate an arbitration provision, regardless of any

state law to the contrary. Instead, class action waivers—and arbitration agreements containing

such waivers—are valid and enforceable. Concepcion, 563 U.S. at 352-53; see also Am. Express

Co. v. Italian Colors Rest., 570 U.S. 228, 231-232 (2013) (upholding class action waiver and

noting that Rule 23 does not “establish an entitlement to class proceedings for the vindication of




                                                  27
statutory rights”).

        The arbitration provision at issue here—requiring submission of claims to binding

arbitration with a class action waiver—is not meaningfully distinguishable from those considered

and found enforceable in these cases. Applying this line of cases to Amazon’s arbitration

provision, courts all across the country have found the provision, and the class action waiver it

contains, to be valid and enforceable. See Ekin, 84 F. Supp. 3d. at 1175 (enforcing Amazon’s

arbitration provision and compelling arbitration); Fagerstrom, 141 F. Supp. 3d at 1057-60, 1064-

76 (same); Peters, 2 F. Supp. 3d 1165 at 1170(same).

        B.      The Agreement is Not Unconscionable.

        When plaintiffs attempt to avoid arbitration by asserting that the arbitration provision at

issue is unconscionable, they bear the burden of putting forth facts showing unconscionability:

“As arbitration is favored, those parties challenging the enforceability of an arbitration

agreement bear the burden of proving that the provision is unenforceable.” Mortensen v.

Bresnan Commc'ns, LLC, 722 F.3d 1151, 1157 (9th Cir. 2013); accord Green Tree Fin. Corp.-

Alabama v. Randolph, 531 U.S. 79, 91-92 (2000) (party opposing arbitration bears burden of

“establishing that Congress intended to preclude arbitration of the statutory claims at issue” or

should be invalidated “on the ground that arbitration would be prohibitively expensive”). The

argument that other provisions of a contract are unconscionable will not void an agreement to

arbitrate. See Rent-A-Center W., Inc. v. Jackson, 561 U.S. 63, 70-71 (2010) (“[A] party’s

challenge to another provision of the contract, or to the contract as a whole, does not prevent a

court from enforcing a specific agreement to arbitrate.”). The parties’ agreement here is neither

procedurally nor substantively unconscionable.

        Turning first to procedural unconscionability, under Washington law (which governs

both Amazon and Audible’s agreements), “procedural unconscionability refers to the lack of


                                                 28
meaningful choice,” including “the manner in which the contract was entered, whether each

party had a reasonable opportunity to understand the terms of the contract, and whether the

important terms were hidden in fine print.” Brinkley v. Monterey Fin. Servs., Inc., 242 Cal. App.

4th 314, 336 (2015) (applying Washington law). The fact that a consumer contract is a contract

of adhesion does not render it procedurally unconscionable. See Concepcion, 563 U.S. at 346-47

(enforcing arbitration provision in an adhesion contract, noting “the times in which consumer

contracts were anything other than adhesive are long past”).

       Here Plaintiffs had a meaningful opportunity to understand the terms of the contract, and

as described in the sections above both Audible and Amazon gave Plaintiffs frequently notice of

their terms that applied to the services. Nor can Plaintiffs credibly argue that the important terms

are in “fine print,” as Amazon shows that the arbitration provision is in bold text, so as to stand

out from the rest of Amazon’s COUs. Far from burying the arbitration provisions in fine print,

Audible and Amazon both specifically emphasized these terms within their terms of service.10

       The agreement is also not substantively unconscionable. “A term is substantively

unconscionable where it is one-sided or overly harsh, shocking to the conscience, monstrously

harsh, or exceedingly calloused.” Gandee v. LDL Freedom Enters., Inc., 176 Wash. 2d 598, 603

(2013) (internal citations and punctuation omitted). The arbitration provisions at issue here are

none of these things. On the contrary, Amazon’s arbitration agreement mirrors the very

provision that the Supreme Court approved in Concepcion. It contains a number of provisions



10
   Some plaintiffs have argued that it is procedurally unconscionable to incorporate AAA Rules
into an agreement by reference without attaching them to the agreement, as Amazon does, but
courts have consistently rejected this argument. See Baltazar v. Forever 21, Inc., 62 Cal. 4th
1237, 367 P.3d 6 (2016) (holding that incorporation of AAA rules into agreement without
attaching a copy did not render agreement procedurally unconscionable); Satomi Owners Ass’n
v. Satomi, LLC, 167 Wash. 2d 781, 801 (2009) (same).


                                                 29
designed to make arbitration accessible and fair to consumers. For instance, it includes a

provision stating that Amazon will pay all arbitration fees for claims less than $10,000. See, e.g.,

Ressmeyer Decl. ¶ 13, Ex. J at 6; cf. Concepcion, 563 U.S. at 336–37. It permits consumers to

bring claims in small claims court in lieu of arbitration. See, e.g., Ressmeyer Decl. ¶ 13, Ex. J at

6; cf. Concepcion, 563 U.S. at 336–37. It allows consumers to decide how they want to

participate, whether “by telephone, based on written submissions, or in person in the county

where you live or at another mutually agreed location.” See, e.g., Ressmeyer Decl. ¶ 13, Ex. J at

6; cf. Concepcion, 563 U.S. at 336–37. And it authorizes the arbitrator to “award on an

individual basis the same damages and relief as a court,” including injunctions and declaratory

relief. See, e.g., Ressmeyer Decl. ¶ 13, Ex. J at 6; cf. Concepcion, 563 U.S. at 336–37. Any

attempt to cast the arbitration provision as so harsh and one-sided that it shocks the conscience,

when the Supreme Court approved a virtually identical provision in Concepcion cannot succeed.

Indeed, courts have consistently rejected the argument that Amazon’s arbitration provision is

unconscionable. See Ekin, 84 F. Supp. 3d. at 1178 (finding Amazon’s arbitration provision was

not unconscionable); Fagerstrom, 141 F. Supp. 3d at 1064-76 (same); Peters, 2 F. Supp. 3d at

1170 (same with business services agreement). The Court here should do the same.

                                         CONCLUSION

       Plaintiffs repeatedly agreed to arbitrate this dispute with Audible through years of active

use of the Amazon and Audible services. They cannot shirk their obligations under those

agreements and they are thus barred from bringing these claims for class-based relief in court.

The Court should therefore grant Audible’s motion and compel this entire lawsuit to arbitration.




                                                 30
Dated: July 6, 2018        Respectfully submitted,

                           /s/ Jedediah Wakefield
                           Jedediah Wakefield (CSB No. 178058)
                           Email: jwakefield@fenwick.com
                           Armen N. Nercessian (CSB No. 284906)
                           Email: anercessian@fenwick.com
                           Matthew B. Becker (CSB No. 291865)
                           Email: mbecker@fenwick.com
                           FENWICK & WEST LLP
                           555 California Street, 12th Floor
                           San Francisco, CA 94104
                           Telephone:     415.875.2300
                           Facsimile:     415.281.1350

                           Attorneys for Defendant AUDIBLE, INC.

                           /s/ Stephen D. Feldman
                           Stephen D. Feldman (NCSB # 34940)
                           ELLIS & WINTERS LLP
                           Email: stephen.feldman@elliswinters.com
                           4131 Parklake Avenue, Suite 400
                           Raleigh, NC 27612
                           Telephone:     919.865.7005
                           Facsimile:     919.865.7010

                           Attorney for Defendant AUDIBLE, INC.




                      31
                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on July 6, 2018.




                                                      /s/ Jedediah Wakefield
                                                    Jedediah Wakefield (CSB No. 178058)
                                                    Email: jwakefield@fenwick.com
                                                    FENWICK & WEST LLP
                                                    555 California Street, 12th Floor
                                                    San Francisco, CA 94104
                                                    Telephone:     415.875.2300
                                                    Facsimile:     415.281.1350

                                                      /s/Stephen D. Feldman
                                                    Stephen D. Feldman (NCSB # 34940)
                                                    ELLIS & WINTERS LLP
                                                    Email: stephen.feldman@elliswinters.com
                                                    4131 Parklake Avenue, Suite 400
                                                    Raleigh, NC 27612
                                                    Telephone: (919) 865-7005
                                                    Facsimile: (919) 865-7010




                                               32
